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 1                  IN THE UNITED STATES DISTRICT COURT
 2                      FOR THE DISTRICT OF COLORADO
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 4


 5      STAN LEE MEDIA, INC.,


 6                  Plaintiff,


 7            vs.                                Civil Action No.
                                                 1:12-cv-02663-WJM-KMT
 8     THE WALT DISNEY COMPANY,


 9                  Defendants.


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14                   VIDEOTAPED DEPOSITION OF STAN LEE
15                        Beverly Hills, California
16                            Thursday, March 14, 2013
17                                      Volume 2
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19
20
21     Reported by:
       ALENE M. CASTRO
22     CSR No. 4847
23      Job No. 1619771
24
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                                                                        2021 MARVEL-0131405
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 1                  IN THE UNITED STATES DISTRICT COURT
 2                      FOR THE DISTRICT OF COLORADO
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 4


 5      STAN LEE MEDIA,        INC.,


 6                  Plaintiff,


 7            vs.                                Civil Action No.
                                                 1:12-cv-02663-WJM-KMT
 8     THE WALT DISNEY COMPANY,


 9                  Defendants.


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14              Videotaped deposition of STAN LEE, Volume 2,
15     taken on behalf of Plaintiff, at 9601 Wilshire
16     Boulevard, Suite 700, Beverly Hills, California,
17     beginning at 8:55 a.m. and ending at 10:09 a.m. on
18     Thursday, March 14, 2013, before ALENE M. CASTRO,
19     Certified Shorthand Reporter No. 4847.
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 1     APPEARANCES:

 2

 3     For Plaintiff Stan Lee Media,            Inc.:

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 6            BY:     JAMES MOLEN

 7            Attorneys at Law

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 9            Beverly Hills, California 90210

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12            jmolen@eisnerlaw.com

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14     For Defendant The Walt Disney Company:

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17            BY:     RANDI W. SINGER

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 1     APPEARANCES      (continued):

 2

 3      For Stan Lee Individually:

 4            SHERMAN & HOWARD

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10            (303)    299-8211

11

12            --and--

13

14            GANFER & SHORE LLP

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 1     APPEARANCES    (Continued):

 2

 3     Also Present:

 4           MICHAEL WOLK, Walt Disney Corporate Representative

 5           ELI BARD,   Deputy Chief Counsel, Marvel

 6           Entertainment

 7

 8     Videographer:

 9           GRANT CIHLAR

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 7                            BY MR. CHAPMAN                           128

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10                                  EXHIBITS

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13                    Marvel Comics by Stan Lee

14

15    Exhibit 12       100 New Yorkers of the 1970s by                 102

16                    Max Millard

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18    Exhibit 13       Stan Lee Conversations                          104

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20    Exhibit 14       LexisNexis document, Stan Lee                   108

21                    Abloom at 80; Marvel's Dad Plants

22                     Comics on Internet

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 4    Exhibit 15       LexisNexis document,         Superhero          110

 5                    Worship; Stan Lee, The Original

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 8    Exhibit 16       Letter agreement dated April 9,                 113

 9                     1976 to Stan Lee from Marvel

10                     Entertainment; M CJ7 14477-14479

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12    Exhibit 17       Letter agreement dated April 1,                 115

13                     1980, to Stan Lee from Marvel

14                     Entertainment; Lee 0054-0062

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16    Exhibit 18       Letter agreement dated April 1,                 116

17                     1980, to Stan Lee from Marvel

18                     Entertainment; Lee 0067

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20    Exhibit 19       Letter agreement dated March 28,                117

21                     1988, to Peter Bierstedt from

22                     Engel & Engel; Lee 0071-0072

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 4    Exhibit 20       Employment Agreement dated                      118

 5                     12/22/89 between Stan Lee and

 6                    Marvel Entertainment Group; Lee

 7                     0083-0085

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 9    Exhibit 21       Employment Agreement dated 4/1/94               120

10                    between Stan Lee and Marvel

11                     Entertainment; Lee 0095-0097

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13    Exhibit 22-A Employment Agreement dated April                    121

14                     1, 1994, between Stan Lee and

15                    Marvel Entertainment Group; Lee

16                     0101-0105

17

18    Exhibit 22-B Employment Agreement dated April                    122

19                     12, 1994 between Stan Lee and New

20                    World Family Filmworks Ltd.; Lee

21                     0106-0109

22

23    Exhibit 23       Excelsior The Amazing Life of                   128

24                     Stan Lee by Stan Lee and George

25                    Mair


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 1     in or around October of 1998, the Stan Lee Media

 2     agreement?

 3          A      Uh-huh.

 4          Q      This quotes you as saying, quote,      "I have

 5     created a dozen brand new characters that I will be               09:27:59

 6     announcing as soon as everything is set.         These

 7     characters will belong to me.        It's funny, after all

 8     the characters I created for Marvel, none of them

 9     were actually mine.       They all belonged to the

10     company," unquote.                                                0 9: 28: 18

11                 Was that a true and accurate statement at

12     the time?

13          A      Yes.

14          Q      I'll show you a second article which we'll

15     mark as Lee 15.       This one is from a little bit               09:28:30

16     later, July 20, 2000, from the Chicago Tribune

17     newspaper.     And at the bottom of the first page over

18     to the second page, you are quoted here as saying

19     the following:        "Anything I create Stan Lee Media

20     will own, and that's a great feeling.         At Marvel I         09:29:08

21     was an employee, a writer for hire.        No one who

22     worked for a comics company back then owned anything

23     they created," unquote.

24                 Was that also an accurate statement?

25          A      Yes.                                                  09:29:26

                                                                        Page 109

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 1
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 3
 4                I, STAN LEE, do hereby declare· under
 5     penalty of perjury that I have read the. foregoing
 6     transcript; that I have made any corrections as
 7     appear noted,          ink, initialed by me, or attached




                                                    ~=-
 8     hereto; that my testimony as contained herein, as



            d£;;?~
 9     corrected,    is true and c o r r e c t . _ ~
10
       at                                     ~ay                        2013,
11
                   (City}                                  (State)
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16                            STAN
                              Volume 2
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                                                                             2021 MARVEL-0131466
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                                        ACKNOWLEDGMENT


State of California
County of L 12S          A~.e (( 5
On ¾?·ri\ 'L'J, 2,t>l 3                       before me       ~""be,l~ l \J p--er\
   _____........;:...;...;;.._ ____;_______               '     (insert na'i,,\; and title of the officer)

personally appeared          S;+wr-  Le e......                                                   •
who proved to me on the basis of satisfactory evidence to be the ~!~on(,) whose name~re
subscribed to the within instrument and acknowled_ged to me that\(!9"she/they executed the same in
&/her/their authorized capacity~). and that by(lji)/her/their signature($') on the instrument the
person(¢, or the entity upon behalf of which the person") acted, executed the instrument.

I certify under PENALTY OF PERJURY under the laws of the State of California that the foregoing
paragraph is true and correct.


WITNESS my hand and official seal.



Signature \
           t
               (.;e::f'J:J--:@                                  {Seal)




                                                                                                             2021 MARVEL-0131467
     Case 1:21-cv-07957-LAK     Document 94-7   Filed 06/30/23   Page 14 of 14


 1                 I,   the undersigned,        a Certified Shorthand

 2     Reporter of the State of California, do hereby

 3     certify:

 4                 That the foregoing proceedings were taken

 5     before me at the time and place herein set forth;

 6     that any witnesses in the foregoing proceedings,

 7     prior to testifying,          were administered an oath;             that

 8     a record of the proceedings was made by me using

 9     machine shorthand which was thereafter transcribed

10     under my direction;          that the foregoing transcript is

11     a true record of the testimony given.

12                 Further,      that if the foregoing pertains to

13     the original transcript of a deposition in a Federal

14     Case, before completion of the proceedings,                    review

15     of the transcript          [ ] was   [ ] was not requested.

16                 I further certify I am neither financially

17     interested in the action nor a relative or employee

18     of any attorney or any party to this action.

19                 IN WITNESS WHEREOF,          I have this date

20     subscribed my name.

21

22     Dated: March 16th,          2013

23

24                               ALENE M. CASTRO

25                               CSR No.    4847


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